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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                                      CHAPTER 15

 Klimer Manufacturing, Inc.,                                   CASE NO. 18-05004-5-SWH

                Debtor.

          NOTICE OF FILING OF PETITION FOR RECOGNITION OF A FOREIGN
                                  PROCEEDING

        NOTICE IS HEREBY GIVEN OF Petition for Recognition of a Foreign Proceeding of
 Klimer Manufacturing, Inc. The foreign representative is seeking an Order recognizing the
 Canadian insolvency proceeding of Klimer Manufacturing, Inc., as a foreign main proceeding
 under Chapter 15 of the United States Bankruptcy Code. A copy of the petition, assignment and
 appointment of Trustee in the Canadian insolvency, and statement of information pursuant to Rule
 1007(a)(4) are attached to this notice.

         Your rights may be affected. You should read these papers carefully and discuss them
 with your attorney, if you have one in this bankruptcy case. If you do not want the court to grant
 the relief sought in the motion, or if you want the court to consider your views on the motion, then
 on or before November 8, 2018 (November 5, 2018, if this notice is received by CM/ECF
 service), you or your attorney must file with the court, pursuant to Local Rule 9013-1 and 9014-1,
 a written response, an answer explaining your position, and a request for hearing at:

                       Ms. Stephanie Butler
                       Clerk, U.S. Bankruptcy Court
                       300 Fayetteville Street, Second Floor
                       P.O. Box 791
                       Raleigh, NC 27602

         If you mail your request or response to the court for filing, you must mail it early enough
 so the court will receive it on or before the date stated above. If you or your attorney do not take
 these steps, the court may decide that you do not oppose the relief sought in the motion and may
 enter an order granting that relief.

        A hearing on this matter will be conducted on November 13, 2018, at 10:30 a.m. at the
 courthouse located at:

                       United States Courthouse
                       Room 208
                       300 Fayetteville Street
                       Raleigh, NC 27602
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       This the 15th of October, 2018.

                                         JANVIER LAW FIRM, PLLC

                                         s/ Kathleen O’Malley
                                         Kathleen O’Malley, N.C. State Bar No. 51654
                                         William P. Janvier, N.C. State Bar No. 21136
                                         Attorneys for Debtor
                                         311 E. Edenton Street
                                         Raleigh, North Carolina 27601
                                         Telephone: (919) 582-2323
                                         Facsimile: (866) 809-2379
                                         Email: kathleen@janvierlaw.com
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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

   IN RE:                                                                        CHAPTER 11

   Klimer Manufacturing, Inc.,                                    CASE NO. 18-

                   Debtor.

                       RULE 1007(a)(4) STATEMENT OF INFORMATION

            NOW COMES, Scott, Pichelli & Easter Limited, Trustee, duly authorized foreign

   representative for Klimer Manufacturing, Inc., (the “Debtor”), through counsel, pursuant to

   Bankruptcy Rule 2014, and respectfully submits the following information pursuant to

   Bankruptcy Rule 1007(a)(4) in connection with his petition for recognition of a foreign

   proceeding:

      A. Corporate Ownership Statement pursuant to Bankruptcy Rule 7007.1

                   No corporation owns more than 10% of the stock in Klimer Manufacturing, Inc.

      B. Persons or bodies authorized to administer foreign proceedings.

                   Scott, Pichelli & Easter Limited is the trustee appointed by the Official Receiver

            in the District of Ontario, Division 7, for the Canadian Office of the Superintendent of

            Bankruptcy. As the trustee of the Debtor’s estate, Scott, Pichelli & Easter Limited is the

            entity authorized to deal with the property of the Debtor and act on behalf of the

            bankruptcy estate under the Canadian Bankruptcy and Insolvency Act. The mailing

            address for Scott, Pichelli & Easter Limited is:

                   Scott, Pichelli & Easter Limited
                   ATTN: Joel Easter
                   3600 Billings Court, Suite 109
                   Burlington, Ontario L7N 3N6
                   CANADA
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      C. Parties to litigation in the United States

             a. Debtor is a defendant in Almeida, e. al. v. Associated Scaffolding Company, Inc.,

                 filed as case number 16 CV 001726 in the North Carolina Superior Court,

                 Durham County. The parties to that proceeding are listed in Exhibit A attached

                 hereto.

             b. Debtor is a defendant in Guevara v. Choate Constructions Company, et. al., filed

                 as case number 18 CVS 2301 in the North Carolina Superior Court, Durham

                 County. The parties to that proceeding are listed in Exhibit B attached hereto.

      D. Entities against whom provisional relief is sought

                 The Debtor is not seeking provisional relief at this time.


         This the          day of October, 2018.



                                                   s/ Kathleen O’Malley
                                                   Kathleen O’Malley, N.C. State Bar No. 51654
                                                   William P. Janvier, N.C. State Bar No. 21136
                                                   311 E. Edenton Street
                                                   Raleigh, NC 27601
                                                   Telephone: (919) 582-2323
                                                   Facsimile: (866) 809-2379
                                                   Email: kathleen@janvierlaw.com
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                                           EXHIBIT A

   Silvia A. Almeida, Administrator               Choate Construction Company
   Estate of Anderson A. Almeida                  2907 Providence Road
   c/o John R. Edwards,                           Charlotte, NC 28211
   David F. Kirby, and William . Bystrynski
   Edwards Kirby, LLP                             Choate Construction Company
   PO Box 17005                                   c/o Rodney E. Petty and
   Raleigh, NC 27619                              Sean T. Patrick
                                                  Yates, McLamb & Weyher, LLP
   Olimpia Pena, Administrator                    PO Box 2889
   Estate of Jose Erasmo Claros Hernandez         Raleigh, NC 27602
   c/o John R. Edwards,
   David F. Kirby, and William . Bystrynski       Jannawall, Inc.
   Edwards Kirby, LLP                             8000 Poplar Tent Road Suite E
   PO Box 17005                                   Concord, NC 28027
   Raleigh, NC 27619
                                                  Jannawall, Inc.
   Richard P. Nordan, Administrator               c/o Brian M. Love
   Estate of Jose Luis Lopez-Ramirez              Teague Campbell Dennis & Gorham
   c/o Chuk E. Umerah                             PO Box 19207
   210 E. Russell Street, #106                    Raleigh, NC 27619
   Fayetteville, NC 28301

   Associated Scaffolding Company, Inc.
   2102 Fay Street
   Durham, NC 27704

   Associated Scafforlding Company, Inc.
   c/o Frederick Rom and
   Mason E. Freeman
   Womble Bond Dickinson
   PO Box 831
   Raleigh, NC 27602
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                                     EXHIBIT B

   Elmer Guevara
   c/o Shilanka Inel Ware
   Kreger Law Firm
   5003 Southpark Drive
   Suite 260
   Durham, NC 27713

   Juba Aluminum Products Co.
   8000 Poplar Tent Road
   Concord, NC 28027

   Juba Aluminum Products Co.
   c/o Keith Coltrain
   Wall Templeton
   PO Box 10937
   Raleigh, NC 27605

   Jannawall, Inc.
   8000 Poplar Tent Road Suite E
   Concord, NC 28027

   Janawall, Inc.
   c/o Kenny Rotenstreich
   Teague Rostenstreich Stanaland
    Fox and Holt, PLLC
   101 S. Elm Street, Suite 350
   Greensboro, NC 27401

   Choate Construction Company
   2907 Providence Road
   Charlotte, NC 28211

   Choate Construction
   c/o Rodney Pettey and
   Sean Patrick
   Yates, McLamb & Weyher, LLP
   PO Box 25176
   Raleigh, NC 27602
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                                      CERTIFICATE OF SERVICE

         I, Kathleen O’Malley, do hereby certify that the foregoing NOTICE OF FILING OF
  PETITION FOR RECOGNITION OF A FOREIGN PROCEEDING and PETITION has
  been served upon each of the parties listed below by placing copies of the same in the United
  States mail, postage prepaid or by electronic mail as indicated below.

  Marjorie K. Lynch (Via CM/ECF)                    Associated Scaffolding Company, Inc.
  Bankruptcy Administrator                          ATTN: Managing Agent
  434 Fayetteville St., Suite 640                   2102 Fay Street
  Raleigh, NC 27601                                 Durham, NC 27704

  Klimer Manufacturing, Inc.                        Associated Scaffolding Company, Inc.
  ATTN: James Gordon, President                     c/o Frederick Rom and
  7045 Auburn Rd.                                   Mason E. Freeman
  Milton, Ontario L9E 0T6                           Womble Bond Dickinson
  Canada                                            PO Box 831
                                                    Raleigh, NC 27602
  Scott, Pichelli & Easter, Limited
  ATTN: Joel Easter                                 Choate Construction Company
  3600 Billings Court, Suite 109                    ATTN: Managing Agent
  Burlington, Ontario L7N 3N6                       2907 Providence Road
  Canada                                            Charlotte, NC 28211

  Silvia A. Almeida, Administrator                  Choate Construction Company
  Estate of Anderson A. Almeida                     c/o Rodney E. Petty and
  c/o John R. Edwards,                              Sean T. Patrick
  David F. Kirby, and William . Bystrynski          Yates, McLamb & Weyher, LLP
  Edwards Kirby, LLP                                PO Box 2889
  PO Box 17005                                      Raleigh, NC 27602
  Raleigh, NC 27619
                                                    Jannawall, Inc.
  Olimpia Pena, Administrator                       ATTN: Managing Agent
  Estate of Jose Erasmo Claros Hernandez            8000 Poplar Tent Road Suite E
  c/o John R. Edwards,                              Concord, NC 28027
  David F. Kirby, and William . Bystrynski
  Edwards Kirby, LLP                                Jannawall, Inc.
  PO Box 17005                                      c/o Brian M. Love
  Raleigh, NC 27619                                 Teague Campbell Dennis & Gorham
                                                    PO Box 19207
  Richard P. Nordan, Administrator                  Raleigh, NC 27619
  Estate of Jose Luis Lopez-Ramirez
  c/o Chuk E. Umerah
  210 E. Russell Street, #106
  Fayetteville, NC 28301
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  Elmer Guevara                                        Janawall, Inc.
  c/o Shilanka Inel Ware                               c/o Kenny Rotenstreich
  Kreger Law Firm                                      Teague Rostenstreich Stanaland
  5003 Southpark Drive                                  Fox and Holt, PLLC
  Suite 260                                            101 S. Elm Street, Suite 350
  Durham, NC 27713                                     Greensboro, NC 27401

  Juba Aluminum Products Co.                           Choate Construction
  ATTN: Managing Agent                                 c/o Rodney Pettey and
  8000 Poplar Tent Road                                Sean Patrick
  Concord, NC 28027                                    Yates, McLamb & Weyher, LLP
                                                       PO Box 25176
  Juba Aluminum Products Co.                           Raleigh, NC 27602
  c/o Keith Coltrain
  Wall Templeton
  PO Box 10937
  Raleigh, NC 27605


  All other parties registered to receive electronic service through the CM/ECF system.

         This the 15th day of October, 2018.

                                               JANVIER LAW FIRM, PLLC

                                       BY:     s/ Kathleen O’Malley
                                               Kathleen O’Malley, NCSB 51654
                                               311 E. Edenton Street
                                               Raleigh, NC 27601
                                               Telephone: (919) 582-2323
                                               Facsimile: (866) 809-2379
                                               Email: kathleen@janvierlaw.com
